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                        Exhibit “1”
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               UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF FLORIDA
                   NO. 20-CV-81205-RAR
 SECURITIES AND EXCHANGE COMMISSION

     vs.

COMPLETE BUSINESS SOLUTIONS
GROUP, INC. d/b/a PAR FUNDING, et al.,
                                                                                  THIS SPACE RESERVED FOR ADMINISTRATIVE USE ONLY

                                                    PROOF OF CLAIM FORM
                                                      (Instructions Attached)
 □ Check this box if this claim amends a previously filed claim, dated                                        (including Claim # if known)




ENTITY AGAINST WHICH YOU ARE ASSERTING A CLAIM (mark one)                     Alvin Holdings
Receivership Entities                                                         Blue Stream Income Fund
     ALB Management                                                          Cape Cod Income Fund
     Beta Abigail                                                            Capricorn Income Fund
     Complete Business Solutions Group d/b/a Par Funding (CBSG)              Capricorn Income Fund I Parallel LLC
     Contract Financing Solutions                                            GR8 Income Fund
     Eagle Six Consulting                                                    Jade Fund
     Fast Advance Funding                                                    Jax Fund
     Full Spectrum Processing                                                LWM Equity Fund
     Heritage Business Consulting                                            LWM Income Fund 2
     Liberty Eight Avenue                                                    LWM Income Fund Parallel
     LME 2017 Family Trust                                                   Mariner MCA Income Fund
     Recruiting and Marketing Resources (RMR)                                MCA Capital Fund
     Abetterfinancialplan.com                                                MCA Carolina Income Fund
     ABFP Management Company                                                 MCA National Fund
     ABFP Income Fund                                                        Merchant Factoring Income Fund
     ABFP Income Fund Parallel                                               Merchant Services Income Fund Parallel
     ABFP Income Fund 2                                                      Mid Atlantic MCA Fund
     ABFP Income Fund 3                                                      MK One Income Fund
     ABFP Income Fund 3 Parallel                                             Pisces Income Fund
     ABFP Income Fund 4                                                      Pisces Income Fund Parallel
     ABFP Income Fund 4 Parallel                                             RAZR MCA Fund
     ABFP Income Fund 6                                                      Retirement Evolution Insured Income Fund
     ABFP Income Fund 6 Parallel                                             Sherpa Income Fund 1
     ABFP Multi Strategy Investment Fund                                     Spartan Income Fund
     ABFP Multi Strategy Investment Fund 2                                   Spartan Income Fund Parallel
     MK Corporate Debt Investment Company                                    STFG Income Fund
     Fidelis Financial Planning                                              Victory Income Fund
     United Fidelis Group                                                    Wellen Fund 1
     Retirement Evolution Group                                              WorkWell Fund
     Retirement Evolution Income Fund                                   OTHER (provide entity/individual name below)
     Retirement Evolution Income Fund 2                                 ________________________________________________________
Non-Receivership Entities                                                ________________________________________________________
     AGM Capital Fund                                                   ________________________________________________________
     AGM capital Fund 2
      Case 9:20-cv-81205-RAR Document 1467-1 Entered on FLSD Docket 12/21/2022 Page 3 of 7
 1.   NAME AND ADDRESS OF CLAIMANT

      Name____________________________________________________________________________________________________________________________

      Street Address_________________________________________________________________________________________________________________

      City / State / Zip Code/ Country____________________________________________________________________________________________________

 If Claimant is an entity, name of contact person for Claimant and title:
 Telephone No. of Claimant:
 Email address of Claimant:
 Last four digits of Tax I.D. No. or SSN:                                    Account or Reference No:                        (if known)



2. CLAIM                                                                     2e. Identify any other party who you claim may be liable to
2a. Basis of Pre-Receivership Claim:                                         you for repayment of your claim:
     Good sold or services performed                                         ________________________________________________
     Money loaned or invested or owner, partner, member,                     ________________________________________________
         equity or other investment interest                                  ________________________________________________
     Taxes                                                                   ________________________________________________
     Wages, salaries, benefits or compensation (fill out below
         and attach a detailed explanation) or unpaid compensation           2f: Legal action or claim against Receivership Entity (provide
         and benefits for services performed from ________ to                caption, date commenced, Court, Case No.):
         _________(dates).                                                    ________________________________________________
         Title: _________________________________________                     ________________________________________________
     Uncashed check issued prior to July 18, 2020                            ________________________________________________
     Other (attach a detailed explanation)                                   ________________________________________________

2b. Pre-Receivership Claim Amount: $                                             Amount recovered from other parties: $
                                                                                 If court judgment, date obtained:
2c. Administrative (Post-Receivership) Claim:
     Check this box if your claim is an Administrative Claim.               2g:  Check this box if the claim includes interest or other
       Briefly state the post Receivership basis of your                         Charges, such as attorney’s fees, lost profits or late fees in
       Administrative Claim: ___________________________                         Addition to the principal amount of the claim. Attach an
       _____________________________________________                             Itemized statement of all interest and other charges.
       _____________________________________________
       _____________________________________________
       _____________________________________________

2d: Administrative Claim Amount: $

 3. Supporting Documents: Please Review the Notice of Claims Bar Date and Procedures for Submitting a Proof of Claim, which
     was included with this Proof of Claim Form, for instructions of supporting documents to attach to your Proof of Claim Form
     (including for example, documents evidencing the amount and basis of your Claim). DO NOT SEND ORIGINAL DOCUMENTS.
     If the documents are not available, explain why. If the documents are voluminous, attach a summary.
 4. Signature: Sign and print the name and title, if any, of the individual or person authorized to submit this claim (attach a copy of
 any power of attorney, death certificate or other authorizing documents as needed).
       By signing your name below, you are certifying that the information contained in this Proof of Claim Form and any
       attached documentation is true and correct under penalty of perjury under the laws of the United States of America.

 Signature:                                        Name:                                          Title (if any)




 5. Dated:                                               YOU MUST DATE AND SIGN THIS FORM FOR THIS CLAIM TO BE VALID
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6. THIS PROOF OF CLAIM FORM MUST BE TIMELY AND PROPERLY SUBMITTED TO THE RECEIVER’S CLAIMS
AGENT:

                By electronic submission on the claims portal, which is available on the
                Receiver’s website (www.parfundingreceivership.com) no later than the
                Claims Bar Date; or

                By mail to Par Funding Receivership Claims Processing Center, c/o Epiq
                Corporate Restructuring, LLC, P.O. Box 4421, Beaverton, OR 97076-
                4421 postmarked no later than the Claims Bar Date; or

                By courier service addressed to Par Funding Receivership Claims Processing
                Center, c/o Epiq Corporate Restructuring, LLC, 10300 SW Allen Blvd.,
                Beaverton, OR 97005 delivered no later than the Claims Bar Date.



7. Acknowledgment of Receipt of Proof of Claim Form: Proof of Claim Forms submitted with a valid email address will receive
email notification confirming receipt of the Proof of Claim.
8. Consent to Jurisdiction: Submission of this Proof of Claim Form in this case constitutes consent to the jurisdiction of the United
States District Court for the Southern District of Florida and, specifically, the court in Case No. 20-CV-81205-RAR (the “Court”) for
all purposes and constitutes agreement to be bound by its decisions, including, without limitation, a determination as to the extent,
validity and amount of any Claim asserted against the Receivership Estate. The submission of a Proof of Claim shall constitute
consent to be bound by the decisions of the Court as to the treatment of the Claim in a Court-approved distribution plan.



                                                ADDITIONAL INFORMATION
                                       (ATTACH ADDITIONAL SHEETS AS NECESSARY)
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                 INFORMATION ON COMPLETING THE PROOF OF CLAIM FORM
1. Information about Claimant. Complete this section giving the name, address, telephone number and email address of the
   individual or entity who is asserting a claim against a Par Funding Receivership Entity and the Receivership Estate, and any
   account or reference number associated with such debt or obligation. If the Claimant is an entity, please provide contact
   information and the title of the authorized representative. If a valid email address is included on this form, the Claims Agent will
   send email notification confirming receipt of the Proof of Claim.
2. Claim information.
    2a. Please indicate the basis of your claim in this section. If you believe you have one claim, you only need to submit one Proof of
        Claim Form. If you believe you have multiple claims, you should file a separate Proof of Claim Form for each such claim. Check
        only one box per claim. Attach additional explanations as necessary. Please refer to The Notice of Claims Bar Date and Procedures
        For Submitting a Proof of Claim for the definitions of a Claimant, Pre-Receivership Creditor Claim, Par Funding-Related Claim,
        Par Funding Receivership Entities, and any other capitalized terms not defined therein can be found in the documents available at:
        the Receiver’s website (www.ParFundingReceivership.com). If you are a Claimant that pooled funds from individual investors for
        investment in CBSG (i.e., an “Agent Fund”), you must fill out and attach an “Agent Fund Supplement to Proof of Claim Form (see
        Exhibit B), along with the other information described in Exhibit B.
    2b. Pre-Receivership Claim Amount. For all Claims other than Administrative Claims, please state the amount of your claim as of
        July 28, 2020. Investors, if you claim to have made a loan to, obtained a promissory note from, or hold an interest in a Receivership
        Entity, please fill out and attach an “Investor Supplement to Proof of Claim Form” (see Exhibit A) to account for each time you made
        an investment with or provided funds to the applicable Receivership Entity and the date and amount of each transaction thereafter.
        You must also provide a chronological accounting indicating the date and amount of any withdrawals made by or payments received
        by you from any Receivership Entity, whether such payments were denominated as the return of principal, interest, commissions,
        finder’s fee, or otherwise.
        You can also obtain the Investor Supplement to Proof of Claim Form and instructions from a link on the Receiver’s website
        (www.ParFundingReceivership.com).
    2c. Administrative Claim. Mark the applicable box if your claim is an Administrative Claim. Please refer to The Notice of Claims
        Bar Date and Procedures for Submitting a Proof of Claim for the definition of an Administrative Claim, Administrative Claimant,
        must also designate the post-Receivership basis for the claim. Attach additional explanations as necessary.
    2d. Administrative Claim Amount. Administrative Claimants must state the unpaid amount of the post-Receivership Claim.
    2e. Other liable parties. Please identify all other parties you believe may be liable to you on the claim. Also, please provide any
        information regarding money recovered from such party(ies).
    2f. Pending legal action. If you have commenced a legal action against any party you believe may be liable to you on the claim,
        please provide the details of said legal action here, including the Court and Case number. Please attach supporting
        documentation. Also, please provide any information regarding court judgments and money recovered.
    2g. Claim above principal amount. Mark the applicable box if your claim amount includes interest or other charges, such as
        attorneys' fees, lost profits, or late fees in addition to the principal amount of your claim and attach an itemized statement of
        all such additional charges.
3. Supporting Documentation. In addition to filling out the Proof of Claim Form, you must provide supporting documentation
   evidencing your claim. Please Review the Notice of Claims Bar Date and Procedures for Submitting a Proof of Claim for
   instructions of the supporting documents which must be attached to your Proof of Claim Form, as applicable.
   DO NOT SEND ORIGINAL DOCUMENTS.
   If the documents are not available, explain why. If the documents are voluminous, attach a summary.
4. Signature is required. Sign the Proof of Claim Form and indicate your name and title, as applicable.
5. Date. Insert the date on which you completed and signed the Proof of Claim Form.
6. Submit Claim Form. Submit a completed Proof of Claim Form, along with all supporting documentation:
    By electronic submission on the claims portal, which is available on the Receiver’s website (www.parfundingreceivership.com);
    By mail to Par Funding Receivership Claims Processing Center, c/o Epiq Corporate Restructuring, LLC, P.O. Box 4421,
    Beaverton, OR 97076-4421; or
    By courier service addressed to Par Funding Receivership Claims Processing Center, c/o Epiq Corporate Restructuring, LLC,
    10300 SW Allen Blvd., Beaverton, OR 97005.
    If you submit a Proof of Claim by courier service, you should retain evidence the Proof of Claim was delivered to the Claims Agent
    no later than the Claims Bar Date. If you submit a Proof of Claim by mail, it is recommended that you submit your Proof of Claim by
    certified or registered mail and retain evidence that the Proof of Claim was postmarked no later than the Claims Bar Date.
7. Acknowledgment of Receipt of Proof of Claim Form. Proof of Claim Forms submitted with a valid email address will receive email
   notification confirming receipt by the Claims Agent of the Proof of Claim.
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Exhibit A – Investor Supplement to Proof of Claim Form

If you are an investor, please provide a detailed accounting of all funds you invested with the entity against which you are
asserting a claim, and all amounts you received from that entity.

Investor Name:


Entity Against Which You Are Asserting a Claim:



Amounts Invested:

Date                               Amount                                Payor/Payee of Check/Wire

________________                   _________________________             ______________________________________

________________                   _________________________             ______________________________________

________________                   _________________________             ______________________________________

Total Amount Invested:             ____________________________


Amounts Received:
                                                      Return of Principal/
Date                      Amount                      Interest/Other (Describe) Payor/Payee of Check/Wire

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Total Amounts Received:            _____________________________



Net Investment:                    _____________________________

(Calculate by Adding Total Amounts Received, and then Subtracting Total Amounts Received)


                                                  ADDITIONAL INFORMATION
                                         (ATTACH ADDITIONAL SHEETS AS NECESSARY)
   Case 9:20-cv-81205-RAR Document 1467-1 Entered on FLSD Docket 12/21/2022 Page 7 of 7
Exhibit B – Agent Fund Supplement to Proof of Claim Form

If you are an Agent Fund, please provide a detailed list of all investors who invested through your Agent Fund (name, mailing
address, email address), the amounts invested in your Agent Fund by each individual investor, and all amounts the Agent Fund
paid back to each individual investor (regardless of whether the payment was characterized as the return of principal, interest,
or otherwise).

Agent Fund Name:



Investor Name             Mailing Address                             Email Address                   Amount Invested Amount Paid Back

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In addition, please certify whether you will be able, and agree, to distribute to your individual investors any funds you receive from a
distribution from the Receivership Estate, and, if so, provide additional information on a separate sheet describing in detail the process you
would follow in making distributions to your individual investors, including how you would allocate to your individual investors any amounts
the Agent Fund receives in a distribution. By indicating “Yes” in the space provided below, you are certifying that you agree to make such
distributions to your individual investors in accordance with the process you have described in the additional information you are submitting
with this Proof of Claim.


YES: _________________              NO: _______________________



                                                   ADDITIONAL INFORMATION
                                         (ATTACH ADDITIONAL SHEETS AS NECESSARY)
